
61 N.Y.2d 730 (1984)
In the Matter of Arthur Quinn, Respondent,
v.
Henry Tutunjian et al., Constituting the Rensselaer County Board of Elections, Respondents, and Nelson Williams, Jr., Appellant.
Court of Appeals of the State of New York.
Argued January 11, 1984.
Decided January 12, 1984.
Thomas V. Kenney, Jr., for appellant.
David R. Dudley for respondent.
Concur: Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, MEYER and KAYE. Taking no part: Judge SIMONS.
Order affirmed, without costs. We agree with the Appellate Division that the mark was not in the voting square as required by section 9-112 of the Election Law.
